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                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                           :      Case No. 3:17-CV-72

                  Plaintiff                          :      Judge MOON


                                                     :
           -v-

    JASON KESSLER ET AL.                             :

                                                     :
                  Defendants


                  MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT



         Now comes defendant Jason Kessler and moves the Court to dismiss the Plaintiff’s

    claims against him pursuant to FRCP 12.


                                              Respectfully Submitted,


                                              s/ Elmer Woodard
                                              ELMER WOODARD (VSB 27734)
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                                     CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on December 7, 2017 upon:

       All parties of record. One party is entitled to or has requested service by other means
       and said party has been served by regular US mail as follows:
       Mr. Michael Enoch Peinovich
       PO Box 1069
       Hopewell Junction, NY 12533      .

                                                       s/ Elmer Woodard

                                                       E. Woodard (VSB 27734)




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